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14     Attorneys for Defendants RAUHMEL FOX ROBINSON and
       BLACK GIRLS CODE INC.
15
                                  UNITED STATES DISTRICT COURT
16
                                 NORTHERN DISTRICT OF CALIFORNIA
17
                                           OAKLAND DIVISION
18

19    BGC, INC.,                                    Case No. 4:22-cv-01582-JSW
20                                  Plaintiff,      NOTICE OF MOTION and MOTION TO
                                                    WITHDRAWAL AS COUNSEL OF
21            v.                                    RECORD and MEMORANDUM OF
                                                    POINTS AND AUTHORITIES IN SUPPORT
22    RAUHMEL FOX ROBINSON; and BLACK
      GIRLS CODE, INC.,                             Date: August 5, 2022
23                                                  Time: 9:00 a.m.
                                    Defendants.     Dept. 5
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                                                    Judge:     Jeffery S. White
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                                                                   CASE NO.: 4:22-CV-01582-JSW

                                          MOTION TO WITHDRAW
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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2            PLEASE TAKE NOTICE THAT: on Friday, August 5, 2022 at 9:00 a.m. in Courtroom 5

 3   of this above captioned court, or as soon thereafter as counsel may be heard, CLARK HILL LLP

 4   and CLARK HILL PLLC (“Clark Hill”) respectfully move this court, for an order to withdrawal

 5   as counsel for BLACK GIRLS CODE INC. and Rauhmel Fox Robinson (“Defendants”).

 6            Clark Hill brings this motion pursuant to Northern District Local Rule 11-5. This motion

 7   is based on the following Memorandum of Points and Authorities, the Declaration of Rauhmel Fox

 8   Robinson, the current record, arguments of counsel and all other matters which this Court may

 9   take judicial notice.

10

11   Dated:    June 27, 2022                      CLARK HILL LLP
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13
                                                  By:
14                                                           Gerald P. Schneeweis
                                                             James P. Murphy
15                                                           David M. Perl
16                                                Attorneys for Defendants RAUHMEL FOX
                                                  ROBINSON and BLACK GIRLS CODE INC.
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                                                     1                  CASE NO.: 4:22-CV-01582-JSW

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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.       INTRODUCTION AND FACTS
 3            Clark Hill seeks to withdrawal as counsel for Defendants in this matter due a breakdown

 4   in the attorney-client relationship which render it difficult for Clark Hill to effectively carry out

 5   its representation on Defendants’ behalf

 6            Defendants have been provided with notice of Clark Hill’s intent to withdrawal, and

 7   Defendants consent to that withdrawal. See Declaration of Rauhmel Fox Robinson in Support of

 8   Motion to for Clark Hill to Withdrawal (“Robinson Decl.”) ¶ 2. Defendants are aware that, as a

 9   corporation, defendant BLACK GIRLS CODE, INC. may not represent itself in this action

10   without counsel. Robinson Decl. ¶ 3. Defendants are therefore in the process of seeking to

11   retain new counsel.1 Robinson Decl. ¶ 3.

12            Should the Court request additional information related to the reasons for withdrawal,

13   Clark Hill respectfully requests that such information be provided to this Court in camera to

14   preserve the attorney-client relationship and minimize any potential risk of prejudice to

15   Defendants related to the disclosure of such information.

16   II.      LEGAL STANDARD
17            The Court's Civil Local Rules authorize an attorney to withdraw as counsel of record if:

18   (1) written notice has been given reasonably in advance to the client and all other parties in the

19   action; and (2) the attorney obtains leave of Court. Civ. L.R. 11-5(a); see Darby v. City of
20   Torrance, 810 F.Supp. 275, 276 (C.D. Cal. 1992).

21            In this District, the withdrawal of counsel is governed by the standards of professional

22   conduct required of members of the State Bar of California. Civ. L.R. 11-4(a)(1); Nehad v.

23   Mukasey, 535 F.3d 962, 970 (9th Cir. 2008) (applying California Rules of Professional Conduct

24   to attorney withdrawal).

25            California Rule of Professional Conduct 3–700(C)(1)(f) provides that an attorney may

26   request permission to withdraw if the client breaches an agreement or obligation as to expenses or

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     1
      To the extent Mr. Robinson remains a defendant in this action, he seeks to represent himself
28   pro se and the necessary paperwork to effectuate his pro se representation will be forthcoming.
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 1   fees. California Rule of Professional Conduct 3-700(C)(1)(d) further allows withdrawal “other

 2   conduct renders it unreasonably difficult for [counsel] to carry out the employment effectively.”

 3           However, before counsel can withdraw, counsel must comply with California Rule of

 4   Professional Conduct 3-700(A)(2), which provides that counsel shall not withdraw from

 5   employment until the member has taken reasonable steps to avoid reasonably foreseeable prejudice

 6   to the rights of the client, including giving due notice to the client, allowing time for employment

 7   of other counsel. See El Hage v. U.S. Sec. Assocs., Inc., 2007 WL 4328809, at *1 (N.D. Cal. 2007).

 8   The decision to permit counsel to withdraw is within the sound discretion of the trial court. See

 9   United States v. Carter, 560 F.3d 1107, 1113 (9th Cir. 2009).

10           Courts consider several factors when considering a motion for withdrawal, including: (1)

11   the reasons counsel seeks to withdraw; (2) the possible prejudice that withdrawal may cause to

12   other litigants; (3) the harm that withdrawal might cause to the administration of justice; and (4)

13   the extent to which withdrawal will delay resolution of the case. CE Resource, Inc. v. Magellan

14   Group, LLC, 2009 WL 3367489, at *2 (E.D. Cal. 2009).

15           Here, as a result of a breakdown in the attorney-client relationship, including for the

16   reasons described in California Rule of Professional Conduct 3–700(C)(1)(d) and (f) Clark Hill

17   does not believe it can continue to carry out its employment effectively on Defendants’ behalf.

18   Counsel at Clark Hill informed Defendants of their intention to seek withdrawal from this case

19   prior to filing this Motion. Robinson Decl. at ¶ 2 Defendants consent to that withdrawal. Robinson
20   Decl. at ¶ 3.

21           Withdrawal of Clark Hill is not likely to cause prejudice to any other litigants, delay

22   resolution of this case, or otherwise impact the administration of justice, as this this case is still in

23   the very early stages. As of the date of this filing, Defendants have yet to respond to the Complaint

24   or assert counterclaims, and Discovery has not begun.

25           As of the date of this filing (and excluding this Motion), there are two pending motions

26   before the Court. First is a Rule 12(b)(6) Motion to Dismiss the filed by Defendants. That motion

27   has been fully briefed and the Court has indicated it will issue a formal ruling on that motion

28   without a hearing in the coming days. Second, on July 22, 2022 this court is set to hear a motion
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 1   to for Preliminary Injunction filed by Plaintiff. As of the date of this Motion, Defendants have

 2   submitted an opposition to the motion for preliminary injunction, and the motion is set for hearing

 3   July 22, 2022 (before the date for this motion to withdrawal is set for hearing). Thus, neither

 4   Defendants nor other litigants are likely to be prejudiced by the withdrawal.

 5   III.     CONCLUSION
 6            This Court should exercise its discretion and permit the withdrawal of Clark Hill as counsel

 7   for Defendants as the withdrawal is desired both Defendants and Clark Hill, and because there will

 8   be no prejudice to the parties or the action from the withdrawal.

 9                                                  Respectfully submitted,
10   Dated:    June 27, 2022                        CLARK HILL LLP
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12
                                                    By:
13                                                             Gerald P. Schneeweis
                                                               James P. Murphy
14                                                             David M. Perl
15                                                  Attorneys for Defendants RAUHMEL FOX
                                                    ROBINSON and BLACK GIRLS CODE INC.
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